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                            UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WASHINGTON
 8
                                     AT SEATTLE
 9

10         UNITED STATES OF AMERICA,                    CASE NO. C12-1282JLR

11                              Plaintiff,              ORDER DIRECTING PAYMENT
                  v.                                    OF JANUARY 2023 INVOICE
12
           CITY OF SEATTLE,
13
                                Defendant.
14

15         The court hereby APPROVES the Seattle Monitoring Team’s January 2023

16   invoice and DIRECTS the Clerk to draw a check on the funds deposited in the registry of

17   this court in the principal amount of $30,315.44 to pay the January 2023 invoice; to make

18   the check payable to LNW Group LLC; and to mail the check to the payee.

19         Dated this 25th day of April, 2023.

20

21                                                   A
                                                     JAMES L. ROBART
22                                                   United States District Judge


     ORDER - 1
